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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                :       Criminal Case No. 22-CR-261-CRC
UNITED STATES OF AMERICA                        :       Case No.: 21-MJ-121
                                                :
          v.                                    :       40 U.S.C. § 5104(e)(2)(G)
                                                :
KIMBERLY DIFRANCESCO,                           :
                                                :
          Defendant.                            :


                                   STATEMENT OF OFFENSE

          Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its attorney,

the United States Attorney for the District of Columbia, and the defendant, Kimberly DiFrancesco,

with the concurrence of her attorney, agree and stipulate to the below factual basis for the

defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate that the

United States could prove the below facts beyond a reasonable doubt:

                          The Attack at the U.S. Capitol on January 6, 2021

          1.       The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol

include permanent and temporary security barriers and posts manned by USCP. Only authorized

people with appropriate identification are allowed access inside the Capitol.

          2.       On January 6, 2021, the exterior plaza of the Capitol was closed to members of the

public.

          3.       On January 6, 2021, a joint session of the United States Congress convened at the

Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected

members of the United States House of Representatives and the United States Senate were meeting

in separate chambers of the Capitol to certify the vote count of the Electoral College of the 2020

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Presidential Election, which had taken place on Tuesday, November 3, 2020. The joint session

began at approximately 1:00 PM. Shortly thereafter, by approximately 1:30 PM, the House and

Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike

Pence was present and presiding, first in the joint session, and then in the Senate chamber.

        4.       As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.

Temporary and permanent barricades, as noted above, were in place around the exterior of the

Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol

and the proceedings underway inside.

        5.       At approximately 2:00 PM, certain individuals in the crowd forced their way

through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter or

remain in the building and, prior to entering the building, no members of the crowd submitted to

security screenings or weapons checks as required by USCP officers or other authorized security

officials.

        6.       At such time, the certification proceedings were still underway, and the exterior

doors and windows of the Capitol were locked or otherwise secured. Members of the USCP

attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after

2:00 PM, individuals in the crowd forced entry into the Capitol, including by breaking windows

and by assaulting members of law enforcement, as others in the crowd encouraged and assisted

those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of at

least approximately $2.7 million dollars for repairs.




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       7.       Shortly thereafter, at approximately 2:20 PM, members of the House of

Representatives and of the Senate, including the President of the Senate, Vice President Pence,

were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the United

States Congress, including the joint session, were effectively suspended until shortly after 8:00

PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to

the Capitol—including the danger posed by individuals who had entered the Capitol without any

security screening or weapons check—Congressional proceedings could not resume until after

every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that

the building was secured. The proceedings resumed at approximately 8:00 PM after the building

had been secured. Vice President Pence remained in the Capitol from the time he was evacuated

from the Senate Chamber until the session resumed.


            Kimberly DiFrancesco’s Participation in the January 6, 2021, Capitol Riot

       8.       The defendant, Kimberly DiFrancesco, lives in Elmhurst, Illinois. On around

January 5, 2021, defendant drove from the Chicago area to Washington, D.C, along with her sister

(and co-defendant) Trudy Castle and her sister’s adult son (defendant’s nephew). The purpose of

defendant’s trip to Washington, D.C., was to protest Congress’ certification of the Electoral

College.

       9.       On January 6, defendant and her family members walked with other protestors to

the U.S. Capitol. They approached the building from the west side, and, at approximately 2:19 PM,

made their way to the Upper West Terrace, part of the restricted area of the Capitol.

       10.      At about 2:24 PM, defendant entered the Capitol building through the Senate Wing

Door, which had first been breached by rioters just minutes before she entered. When she entered,

defendant knew she did not have permission to be in the building, and she did not submit to any


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security screening. Defendant entered together with Castle, and walked through the Capitol

building to the north side and into the Visitor’s Center. As they paraded through the halls, Castle

waved two small American flags, and defendant carried a handheld radio to communicate with

others. Defendant’s nephew also entered the Capitol and paraded through the building, although

at times he was separated from defendant and Castle. Defendant and Castle exited the building

together at approximately 3:02 PM, through the same door they had entered nearly 40 minutes

earlier.


                                    Elements of the Offense

           11.   Kimberly DiFrancesco knowingly and voluntarily admits to all the elements of

Parading, Demonstrating, or Picketing in any of the Capitol Buildings, in violation of 40 U.S.C.

§ 5104(e)(2)(G). Specifically, defendant admits that she willfully and knowingly paraded,

demonstrated, and picketed inside the U.S. Capitol Building.

                                             Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. Bar No. 481052


                                             By:
                                                     Emily W. Allen
                                                     Assistant United States Attorney
                                                     Cal. Bar No. 234961




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                         DEFENDANT’S ACKNOWLEDGMENT


       I, Kimberly DiFrancesco, have read this Statement of the Offense and have discussed it
with my attorney. I fully understand this Statement of the Offense. I agree and acknowledge by
my signature that this Statement of the Offense is true and accurate. I do this voluntarily and of
my own free will. No threats have been made to me nor am I under the influence of anything that
could impede my ability to understand this Statement of the Offense fully.


Date: 07/22/2022
                                      Kimberly DiFrancesco
                                      Defendant


                          ATTORNEY’S ACKNOWLEDGMENT


       I have read this Statement of the Offense and have reviewed it with my client fully. I concur
in my client's desire to adopt this Statement of the Offense as true and accurate.



Date: 07/25/2022
                                      Michael Gillespie
                                      Attorney for Defendant




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